                             Case 1:22-cv-10823-GBD-SN Document 40-5 Filed 08/16/23 Page 1 of 1

                                                                    Ex. B-1
                           Bakahityar Kamardinova, et al. v. Islamic Republic of Iran, No. 1:18-cv-05339 (GBD) (SN)

                                                 (Alphabetically by Last Name of 9/11 Decedent)

                                      DECEDENT                                                 Non-Economic
                         DECEDENT                   DECEDENT Last   Suffix     Economic                       TOTAL Damage
                                       Middle                                                    Damage
                         First Name                     Name        Name     Damage Amount                       Amount
                                        Name                                                     Amount

                   1.     George                        Lopez                  $2,594,109.00                    $2,594,109.00



                        TOTALS                                                 $2,594,109.00                    $2,594,109.00




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